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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA                      :

              v.                              :           19 Cr. 373 (PGG)

MICHAEL AVENATTI                              :

            Defendant.             :
___________________________________

                 DEFENDANT MICHAEL AVENATTI’S NOTICE
               OF MOTION TO DISMISS THE INDICTMENT FOR
               FAILURE TO STATE AN OFFENSE AND BECAUSE
             THE EXTORTION STATUTES ARE VAGUE-AS-APPLIED

       PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law,

defendant Michael Avenatti, pursuant to Fed.R.Crim.P. 12 and the Fifth Amendment to the

Constitution, will move this Court, before the Honorable Paul G. Gardephe at the United States

Courthouse, 500 Pearl Street, Courtroom 705, New York, New York 10007, for an Order

dismissing the Indictment against him.

       PLEASE TAKE FURTHER NOTICE, that upon prior order of the Court (Doc. #20),

the Government’s opposition papers are due by September 19, 2019, and Defendant’s reply

papers, if any, are due by October 3, 2019.

Dated: August 19, 2019

                                                    Respectfully submitted,

                                              By:   /s/Scott A. Srebnick
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                                                   Attorneys for Defendant Michael Avenatti



                               CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2019, I caused a true and correct copy of the

foregoing to be served by electronic means, via the Court’s CM/ECF system, on all counsel

registered to receive electronic notices.


                                            /s/Scott A. Srebnick
                                            Scott A. Srebnick
